          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 1:08cr128-10


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                      ORDER
                          )
                          )
RAVON JAMAR PATTON.       )
                          )

      THIS MATTER is before the Court on the Government’s Motion to

Dismiss a third-party petition asserting a legal interest in property subject to

forfeiture in the above-referenced criminal case. [Doc. 243]. The Court held

a hearing on this motion on November 24, 2009.

      During the course of the hearing, the Government announced that it was

withdrawing its Motion to Dismiss and intended to proceed with discovery on

the Petitioners’ claims. The parties contend, and the Court so finds, that it is

not practicable to hold a hearing within thirty days, as the parties wish to

engage in discovery on the Petitioners’ claims. Accordingly, the thirty-day

time limit set forth in 21 U.S.C. §851(n)(4) shall be waived.

      Accordingly, IT IS, THEREFORE, ORDERED that the Motion to Dismiss

Petition [Doc. 243] is deemed WITHDRAWN.



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      IT IS FURTHER ORDERED that the thirty-day time limit for a hearing

on the Petitioners’ claims set forth in 21 U.S.C. § 853(n)(4) is hereby

WAIVED.

      IT IS FURTHER ORDERED that all discovery in this matter shall be

completed on or before March 1, 2010. The Court will conduct a final hearing

on the Petitioners’ claims during the Court’s March 1, 2010 term. The parties

will be notified at a later date of the scheduling of such hearing.

      IT IS SO ORDERED.



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                                            Signed: December 2, 2009




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